Case 23-10409-amc      Doc 40   Filed 04/24/24 Entered 04/24/24 10:56:42          Desc Main
                                Document Page 1 of 1




                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     In Re:                                           : Bankruptcy No. 23-10409-AMC
     DELONE LESLIE                                    : Chapter 13
                        Debtor
     US BANK TRUST NATIONAL                           :
     ASSOCIATION, NOT IN ITS INDIVIDUAL               :
     CAPACITY BUT SOLELY AS OWNER                     :
     TRUSTEE FOR VRMTG ASSET TRUST c/o                :
     Fay Servicing, LLC                               :
                                                      :
                           Movant                     :
               vs.                                    :
     DELONE LESLIE                                    :
                           Debtor/Respondents         :
                                                      :
                and                                   :
     KENNETH E. WEST, Esquire                         :
                     Trustee/Respondent               :

                                            ORDER

                        24th day of ___________________,
        AND NOW, this ____           April                   2024, upon the consideration US
  Bank Trust National Association, not in its Individual Capacity but solely as Owner Trustee
  for VRMTG Asset Trust c/o Fay Servicing, LLC (“Movant”) Certification of Default, it is
  hereby:

        ORDERED THAT: the Automatic Stay of all proceedings, as provided under 11 U.S.C.
  § 362 of the Bankruptcy Code is modified and lifted with respect to the premises, 1612
  Clifton Avenue, Sharon Hill, PA 19079:

       IT IS FURTHER ORDERED THAT the 14-day stay pursuant to Rule 4001(a)(1) is
  waived, permitting Movant to immediately enforce and implement this Order for relief.




                                                _________________________________
                                                Honorable Ashely M. Chan
                                                U.S. Bankruptcy Judge
